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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

  JASON WOLFORD; ALISON                     Civil No. 1:23-cv-00265-LEK-WRP
  WOLFORD; ATOM KASPRZYCKI;
  HAWAII FIREARMS COALITION,                MEMORANDUM IN SUPPORT OF
                                            MOTION
                     Plaintiffs,


  v.


  ANNE E. LOPEZ, in her official
  capacity as the Attorney General of the
  State of Hawai‘i,

                     Defendant.



                  MEMORANDUM IN SUPPORT OF MOTION
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                   MEMORANDUM IN SUPPORT OF MOTION

  I.    INTRODUCTION

        The Hawai‘i Attorney General (“Attorney General” or “the State”)

  respectfully requests that this Court stay its Order dated August 8, 2023, enjoining

  the State from enforcing HRS §§ 134-A(a)(1), (4), (9), (12), and 134-E (ECF No.

  66). Specifically, the State requests that the Court stay its Order pending appeal of

  the Order to the Ninth Circuit. In the alternative, the State respectfully requests

  that the Court enter a temporary administratively stay of its Order to give the State

  the opportunity to seek appellate relief on an expedited basis in the Ninth Circuit.

        As explained below, a stay is warranted because the State is likely to

  succeed on the merits; it is irreparably harmed by its inability to enforce duly

  enacted laws; the issuance of a stay will not injure Plaintiffs; and a stay is in the

  public interest. Notably, the Second and Third Circuits have recently stayed

  district court orders enjoining similar laws pertaining to sensitive places. See

  Antonyuk v. Hochul, No. 22-2908 (2d Cir. Dec. 7, 2022) (staying district court

  order), application to vacate stay denied sub nom. Anyonyuk v. Nigrelli,

  No. 22A557 (U.S. Jan. 11, 2023); Christian v. Nigrelli, No. 22-2987 (2d Cir. Dec.

  12, 2022); Koons v. Att’y Gen., No. 23-1900 (3d Cir. June 20, 2023) (staying order

  in part). This Court should do the same, and allow appellate review to proceed in

  an orderly fashion.


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  II.    STANDARD OF REVIEW

         Courts consider four factors when deciding whether to grant a stay of a

  temporary restraining order: “(1) whether the stay applicant has made a strong

  showing that he is likely to succeed on the merits; (2) whether the applicant will be

  irreparably injured absent a stay; (3) whether issuance of the stay will substantially

  injure the other parties interested in the proceeding; and (4) where the public

  interest lies.” Washington v. Trump, 847 F.3d 1151, 1164 (9th Cir. 2017) (per

  curiam) (internal quotation marks and citation omitted). The State has satisfied

  each of these factors.

  III.   THE STATE IS LIKELY TO SUCCEED ON THE MERITS
         As explained in its Memorandum in Opposition to Plaintiffs’ Motion for

  Temporary Restraining Order (ECF No. 55) (Opposition), the State is likely to

  succeed on the merits for several reasons. First, Plaintiffs did not demonstrate

  standing in their Motion with respect to HRS §§ 134-A(a)(4), (12), and 134-E.

  Even if the declarations submitted with Plaintiffs’ reply brief (ECF Nos. 61-3, 61-

  3, 61-5) are considered, and they should not be, Plaintiffs have not shown standing

  with respect to HRS §§ 134-A(a)(12) and 134-E. Second, Plaintiffs are unlikely to

  succeed on their challenges to any of the sensitive-place provisions in Act 52.

  They have failed to show that their proposed course of conduct is covered by the

  plain text of the Second Amendment, and in any event the State has demonstrated


                                            2
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  that the challenged restrictions are consistent with the Nation’s historical tradition

  of firearms regulation. Third, and for similar reasons, Plaintiffs are unlikely to

  succeed on their challenge to the private property default rule.

        A.     PLAINTIFFS LACK STANDING WITH RESPECT TO
               SEVERAL OF THE CHALLENGED PROVISIONS

        To establish standing, Plaintiffs must show an “injury in fact” that is “fairly

  traceable to the challenged conduct” and is “likely to be redressed by a favorable

  judicial decision.” Carney v. Adams, 141 S. Ct. 493, 498 (2020) (internal quotation

  marks and citations omitted). Plaintiffs bear the burden of establishing these

  elements, see Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), and on a motion

  for a temporary restraining order, Plaintiffs “must make a clear showing of each

  element of standing,” LA All. for Hum. Rts. v. County of Los Angeles, 14 F.4th 947,

  956 (9th Cir. 2021) (internal quotation marks and citations omitted).

        Here, Plaintiffs have not shown with respect to several of the challenged

  provisions that their alleged injuries “fairly can be traced to the challenged action

  of the defendant,” as opposed to “the independent action of some third party not

  before the court.” Simon v. Eastern Ky. Welfare Rts. Org., 426 U.S. 26, 41-42

  (1976). With respect to HRS § 134-A(a)(12), Plaintiffs have provided no

  allegations or evidence that any financial institution has authorized (or would

  authorize) carrying firearms on its premises. As a result, any injury Plaintiffs

  suffer from being unable to carry firearms in financial institutions is caused not by
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  any action of the State, but by financial institutions’ decisions to exclude them—

  decisions that Plaintiffs acknowledge are permissible.1 See ECF No. 7-1 at 16

  (“Plaintiffs here do not challenge that right of a private property owner.”).

        Likewise, with respect to HRS § 134-E, any injury Plaintiffs claim to suffer

  from not being allowed to carry firearms on private property without the owner’s

  consent is caused by the owner’s choice to withhold that consent. The Act changes

  nothing about the rights of private owners to control their property: other than

  those places designated as sensitive in § 134-A, business owners who wish to

  allow firearms on their property may do so. For similar reasons, a favorable




  1
    When they filed their Motion, Plaintiffs failed to provide allegations or evidence
  that any restaurants serving alcohol had authorized or would authorize them to
  carry firearms on their premises. For the first time with their Reply, Plaintiffs
  submitted declarations from such restaurants, along with supplemental declarations
  from Plaintiffs stating that they intended to visit these restaurants. See ECF
  Nos. 61-4, 61-5. That evidence and argument should not have been considered.
  See Quinones v. UnitedHealth Grp. Inc., No. CV 14-00497 LEK-RLP, 2017 WL
  2802721, at *3 (D. Haw. June 28, 2017) (“Plaintiff may not raise new arguments in
  his Reply.”), aff’d, 782 F. App’x 646 (9th Cir. 2019); LR7.2 (“Any argument
  raised for the first time in the reply shall be disregarded.”); NOSSK, Inc. v. Fitness
  Anywhere LLC, No. 21-cv-08914-BLF, 2022 WL 1093662, at *8 n.2 (N.D. Cal.
  Apr. 12, 2022) (“Since [exhibits] constitute[d] new evidence introduced for the
  first time on reply that [Defendant] did not have an opportunity to respond to, the
  Court declines to consider these exhibits in support of [Plaintiff’s] motion for
  preliminary injunction.”).
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   decision from this Court with respect to HRS § 134-E cannot redress Plaintiffs’

   claimed injuries.2

         This Court erred in concluding that Plaintiffs had standing to bring each of

   their challenges.3 The Court (at 26) relied on O’Handley v. Weber, 62 F.4th 1145

   (9th Cir. 2023), in which the Ninth Circuit held that censorship of a Twitter user’s

   speech was fairly traceable to the actions of a government official who had flagged

   the speech for Twitter’s removal from the platform. See id. at 1161-62. But

   O’Handley is distinguishable. The plaintiff there alleged that Twitter had taken his

   posts down at the request of the government official. See id. at 1154. Here, by

   contrast, Plaintiffs do not allege that financial institutions or owners of non-




   2
     Moreover, because Plaintiffs “fail[] to provide any statement . . . indicating that
   [they] will not seek permission before carrying [on] private property,” or even
   allege that having to seek consent would be burdensome, they “fail[] to establish
   injury-in-fact[.]” Frey v. Nigrelli, No. 21-cv-05334 (NSR), 2023 WL 2473375, at
   *9 (S.D.N.Y. Mar. 13, 2023). Courts should “[t]ak[e] the record and [Plaintiffs’]
   arguments as [they] find them,” “not manufacture arguments for [a party],” Lopez
   v. Candaele, 630 F.3d 775, 794 (9th Cir. 2010), by implying arguments that
   Plaintiffs do not make themselves. See ECF No. 66 at 30.
   3
     Plaintiffs lack standing to challenge HRS § 134-A(a)(1). As this Court
   acknowledged, their challenge is “much narrower than initially raised in the TRO
   motion,” and is limited only to the two parking areas listed in their complaint and
   “similar” areas, ECF No. 66 at 34-35, which the State explained at the TRO
   hearing were not covered by HRS § 134-A(a)(1). Plaintiffs therefore have not
   shown “an intention to engage in a course of conduct . . . proscribed by a statute,”
   nor a “realistic danger of sustaining a direct injury as a result of the statute’s
   operation or enforcement.” Lopez, 630 F.3d at 785 (citations omitted).
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   sensitive private property have chosen to prohibit them from carrying firearms

   because of any request by the State.4

         For the first time with their Reply brief, Plaintiffs submitted declarations

   from business owners who claim that they would allow Plaintiffs to carry firearms

   on their property in the absence of the default rule (ECF No. 61-3). These

   declarations are unavailing. Each business owner has declared that: “If H.R.S.

   § 134-E were repealed or enjoined or otherwise no longer in effect, I would allow

   members of the public who have concealed carry permits, including the Plaintiffs

   in this case, to carry in my business and on my property.” E.g., ECF No. 61-3 at 3

   (emphasis added). But HRS § 134-E simply requires that property owners “give[]

   express authorization to carry a firearm”—which these business owners have now

   provided through their declarations.

         B.     PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THEIR
                CHALLENGE TO THE SENSITIVE-PLACE PROVISIONS

         Even if Plaintiffs had standing, they would be unlikely to succeed on the

   merits of their Second Amendment challenge to HRS §§ 134-A(a)(4),5 (9), and


   4
     In concluding that Plaintiffs have standing, this Court (at 28 n.8) also relied on
   the district court’s decision in Koons v. Platkin, No. 22-7464 (RMB/AMD), 2023
   WL 3478604 (D.N.J. May 16, 2023). But the relevant portion of Koons has been
   stayed by the Third Circuit pending appeal, meaning that the court has determined
   that the plaintiffs there are unlikely to succeed on the merits of their claim.
   5
      The Court enjoined “the entirety of [§] 134-A(a)(4),” ECF No. 66 at 91, even
   though Plaintiffs sought an injunction of that provision only “to the extent it bans
   the carry of handguns in restaurants and their parking lots,” ECF No. 7 at 2
                                                6
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   (12).6 As the State explained in its Opposition, Plaintiffs have failed to show that

   the plain text of the Second Amendment covers the specific course of conduct in

   which they wish to engage. And in any event, the State has satisfied its burden

   under New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022), of

   demonstrating that each of the challenged regulations is consistent with the

   Nation’s historical tradition of firearms regulation.

         The State incorporates by reference each argument made in its Opposition,

   and it will not repeat all of them here. A few aspects of this Court’s Order warrant

   discussion, however, as they bear on the State’s likelihood of success.

         First, the Court erred in concluding that “[t]he Second Amendment’s plain

   text . . . naturally encompasses places that are generally held open to the public.”

   ECF No. 66 at 41. Even if the “definition of ‘bear’ naturally encompasses public

   carry,” id. (quoting Bruen, 142 S. Ct. at 2134), and even if “it follows that there is

   nothing in the Second Amendment’s plain text that makes a distinction between



   (emphasis added); see ECF No. 7-1 at 21-22; ECF No. 61 at 11-12. Enjoining
   enforcement of HRS § 134-A(a)(4) as to bars is unwarranted because that Plaintiffs
   did not seek that relief.
   6
     This Court also enjoined HRS § 134-A(a)(1) as to “parking areas owned, leased,
   or used by the State or a county which share the parking area with non-
   governmental entities, are not reserved for State or county employees, or do not
   exclusively serve the State or county building[.]” ECF No. 66 at 91. Issuing a
   TRO with respect to that provision is unwarranted because the State disclaimed
   Plaintiffs’ incorrect interpretation of HRS § 134-A(a)(1) as regulating such parking
   lots.
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   public places,” id., nothing in the Second Amendment’s plain text extends the

   scope of the right from public to private property. As explained in

   GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244 (11th Cir. 2012), which the

   State discussed in its Opposition (at 18-19), the scope of the Second Amendment

   right was understood at the Founding to be circumscribed by the rights of private

   property owners. This Court reached a contrary conclusion by relying, in part (at

   44-45), on recent district court decisions in Antonyuk v. Hochul, 1:22-cv-0986

   (GTS/CFH), 2022 WL 16744700 (N.D.N.Y. Nov. 7, 2022), and Koons v. Platkin,

   No. 22-7464 (RMB/AMD), 2023 WL 3478604 (D.N.J. May 16, 2023). But these

   decisions have been stayed pending appeal by the Second Circuit (stayed in full)

   and Third Circuit (stayed in part, as to most of the sensitive places at issue),

   meaning that those courts have determined that the plaintiffs are unlikely to

   succeed. See supra n.4. Furthermore, this Court acknowledged (at 45) that there is

   no Second Amendment right to carry on private property open to the public where

   permission has been revoked, meaning that sensitive-place restrictions can be

   constitutionally applied where a business owner has prohibited the carrying of

   firearms. See GeorgiaCarry.Org, 687 F.3d at 1260-61 (rejecting facial challenge

   to prohibition on carrying firearms in houses of worship because ban could be




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   constitutionally applied where place of worship prohibited carrying firearms).7 At

   a minimum, then, Plaintiffs’ facial challenge to Act 52’s sensitive-place provisions

   fails because Plaintiffs have failed to show that the Act “is unconstitutional in all

   its applications.” California Rifle & Pistol Ass’n, Inc. v. City of Glendale, No.

   2:22-cv-07346-SB-JC, 2022 WL 18142541, at *6 (C.D. Cal. Dec. 5, 2022)

   (cleaned up; citation omitted).

         Relatedly, this Court erred in holding (at 54-56) that the Second

   Amendment’s plain text presumptively protects the right to carry on government

   property when the government is acting as a proprietor. As the State explained in

   its Opposition (at 11 & n.17), “the government—like private property owners—has

   the power to regulate conduct on its property.” See United States v. Class, 930

   F.3d 460, 464 (D.C. Cir. 2019); see also Bonidy v. U.S. Postal Serv., 790 F.3d

   1121, 1126-27 (10th Cir. 2015) (“The government often has more flexibility to

   regulate when it is acting as a proprietor . . . .”), quoted with approval in Mahoney

   v. Sessions, 871 F.3d 873, 880 (9th Cir. 2017). That power is not unlimited, but it

   does exist, and this Court erred in concluding (at 55-56) that the government’s role

   as proprietor “in a post-Bruen world makes no difference” and “has no place under



   7
    As discussed below, the Court’s acknowledgement that there is no right to carry
   on private property without permission also implies that HRS § 134-E is
   constitutional because it does not burden conduct protected by the Second
   Amendment’s plain text.
                                             9
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   the first step of the Bruen analysis.” Indeed, Class was decided at the first step of

   the then-governing Second Amendment test, which Bruen endorsed as “broadly

   consistent with Heller.” 142 S. Ct. at 2127. And the only post-Bruen decision of

   which the State is aware that adopts a similar position to this Court is Koons, 2023

   WL 3478604, at *51-54, which has been stayed in relevant part pending appeal by

   the Third Circuit. See supra n.4.

         Properly understood, the plain text of the Second Amendment does not

   cover any of the conduct regulated by HRS §§ 134-A(a)(1), (4), (9), and (12). But

   even if it did, the State amply demonstrated that each of these provisions is

   consistent with the Nation’s historical tradition of firearms regulation. Only by

   incorrectly discounting the historical evidence proffered by the State did this Court

   reach a contrary conclusion. The State will not attempt in this Motion to defend

   each of the historical analogues that it identified in its Opposition, but it will

   discuss several errors in this Court’s application of the Bruen standard.

         First, despite acknowledging that “[a]nalogical reasoning requires only that

   the government identify a well-established and representative analogue, not a

   historical twin,” ECF No. 66 at 22 (quoting Bruen, 142 S. Ct. at 2133), this Court

   essentially required the State to find a “dead ringer,” Bruen, 142 S. Ct. at 2133, for

   each of the challenged provisions. With respect to HRS § 134-A(a)(4), for

   example, the Court deemed irrelevant 1700s-era laws that prohibited not just

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   selling alcohol to militia members, but also selling alcohol near militia members.

   The Court stated (at 47) that these laws were “unpersuasive in finding that there

   was a national historical tradition of prohibiting members of the public—rather

   than members of the militia—from public carrying in places serving alcohol,” but

   there is no reason to believe that trained militia members would pose greater risks

   in proximity to alcohol than other members of the public.

         Likewise, with respect to HRS § 134-A(a)(12), the Court discounted

   centuries of prohibitions on firearms in commercial centers. The Court reasoned

   (at 72-73) that financial institutions are not like historical commercial centers

   because they are not as congested as some of those centers, but congestion is not

   the only relevant point of similarity. As Professor Saul Cornell explained in his

   declaration supporting the State’s opposition, “bans on arms in fairs and markets

   singled out these locations because they were sites of commerce, entertainment,

   and politics. Indeed, it was the very fact that individuals congregated in large

   numbers and moved about freely, engaging in productive economic, cultural, and

   political activities that was the reason arms were prohibited from these locations.”

   Cornell Decl. ¶ 42.8


   8
     The State notes, moreover, that although banks have existed since the Founding,
   they were understood at that time to be government instrumentalities. See, e.g.,
   Daniel J. Elazar, Banking and Federalism in the Early American Republic, 28
   Huntington Libr. Q. 301, 303-04 (1965) (“the great majority of American banks”
   in the early Republic “were either state-owned joint stock companies in which the
                                             11
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         Second, the Court artificially constrained the universe of historical

   analogues on which the State was permitted to rely, in a manner that made it

   impossible for the State to satisfy its burden under Bruen’s second step. With

   respect to HRS § 134-A(a)(4), for example, the Court disregarded (at 49-51) three

   regulations that can appropriately be described as “historical twins,” on the ground

   that these regulations were enacted by a city and two territories, and this Court

   understood Bruen “to dismiss any law enacted unless it was done in a state where a

   significant percentage of the people . . . resided at the time that the Fourteenth

   Amendment was enacted.” ECF No. 66 at 51. Likewise, in the context of HRS

   § 134-A(a)(9), the Court dismissed local ordinances banning firearms in the

   Nation’s first modern parks because those jurisdictions covered “only about 4% of

   this Nation,”9 and because some ordinances were passed “from 1872 through

   1886,” which the Court deemed too late to shed light on the meaning of the




   state was a major shareholder or were controlled by the state through special
   charter provisions,” and “[t]he Bank of the United States was controlled in this
   same manner by the federal government”); Lev Menand, Why Supervise Banks?
   The Foundations of the American Monetary Settlement, 74 Vand. L. Rev. 951, 983
   (2021) (the Bank of the United States (founded in 1791), the Bank of New York
   (1784), and Massachusetts Bank (1784) were “parastatal monopolies, part-owned
   by the government”). Thus, government buildings—described as a presumptively
   “settled” sensitive location in Bruen—supply the relevant analogue. See 142 S. Ct.
   at 2133.
   9
    The source cited by the Court (at 62 n.17) indicates that New York and
   Pennsylvania had 21.6% of the Nation’s population.
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   Fourteenth Amendment. ECF No. 66 at 61-62. But see id. at 66 n.20 (treating an

   1870 enactment as “‘during’ the Fourteenth Amendment’s ratification for the sake

   of argument.”).10 The Court erred in relying on population estimates and in

   limiting the universe of permissible analogues to pre-1868 (or perhaps pre-1870)

   state laws. It is true that Bruen rejected New York’s reliance on territorial laws

   where those laws “contradict[ed] the overwhelming weight of other, more

   contemporaneous historical evidence,” 142 S. Ct. at 2155 (cleaned up; citation

   omitted), and the Court noted, as a rhetorical point, that the territorial laws at issue

   “governed less than 1% of the American population,” id., but the Court did not

   thereby instruct judges to calculate percentages in order to determine whether

   historical laws were representative or well established. And in this case, unlike in

   Bruen, there is no “contemporaneous historical evidence” that contradicts the laws

   the State has proffered.11

         Finally, this Court erred in its description of the role that analogy plays in

   the Bruen analysis. In its discussion of HRS § 134-A(a)(9), for example, the Court



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     The Court discounted Maryland Shall Issue, Inc. v. Montgomery Cnty., No.
   TDC-21-1736, 2023 WL 4373260 (D. Md. July 6, 2023), for relying on “only one
   local ordinance” and “only one state law” enacted before or during ratification of
   the Fourteenth Amendment. ECF No. 66 at 66. But Maryland Shall Issue also
   discussed an 1831 New Orleans ordinance, an 1852 New Mexico law, an 1870
   Tennessee law, and an 1870 Texas law. See 2023 WL 4373260, at *11.
   11
     Understood in this way, the State maintains that the relevant passages in Bruen
   are less “confounding” than this Court suggested. See ECF No. 66 at 51.
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   acknowledged that “children and families congregate at beaches and parks in

   Hawai‘i; beaches and parks are integral and highly valued in Hawaiian culture; and

   beaches and parks are critical components of Hawaii’s economy,” but the Court

   reasoned that “these considerations by themselves do not matter under the Bruen

   analysis.” ECF No. 66 at 56. The Court also concluded that “[t]he record is absent

   of analogies to historical ‘sensitive places’ for parks and beaches.” Id. at 57. This

   is incorrect. As discussed above (and in its Opposition), the State did identify

   historical analogues (indeed, historical twins) for prohibitions on firearms in parks

   and beaches. But even if no such analogues existed, the State could look to the

   sensitive places identified in Heller and Bruen and justify HRS § 134-A(a)(9) as

   analogous to those places. Contrary to this Court’s reasoning, it does “matter

   under the Bruen analysis” that “children and families congregate at beaches and

   parks in Hawai‘i,” because that makes beaches and parks analogous to schools,

   which are concededly sensitive. Id. at 56. See Thielen Decl. ¶ 6, ECF No. 55-33

   (describing extensive use of Honolulu parks by children and for educational

   programs). Indeed, this Court recognized in its discussion of banks that “[p]olicy

   concerns might be relevant insofar as they help the government identify a well-

   established and representative historical analogue to the regulation at issue.” ECF

   No. 66 at 69 (internal quotation marks and citation omitted).




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         C.     PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THEIR
                CHALLENGE TO THE DEFAULT RULE
         For similar reasons, Plaintiffs—in addition to lacking standing—are unlikely

   to succeed on the merits of their Second Amendment challenge to HRS § 134-E.12

   As noted above, this Court acknowledged that “where a business revokes a

   licensee or invitee’s permission to enter the business’s property, the business is no

   longer a public place to that licensee or invitee,” and “[t]he licensee or invitee’s

   conduct would not be covered by the Second Amendment’s plain text in such a

   scenario.” ECF No. 66 at 45. Likewise, the Court explained that even for private

   property presumptively held open to the public, “[t]hat presumption can change,

   for instance, if an owner of the private property rescinds a general license or

   invitation to enter the property: such as limiting entrance to members or

   prohibiting certain attire.” Id. at 76. It follows from these premises that when a

   private property owner withholds consent for individuals to carry firearms on his

   property, the Second Amendment’s plain text does not cover the right to carry

   firearms on his property. Because all that HRS § 134-E does is prohibit

   individuals from carrying firearms on private property without consent, it does not

   burden conduct that is covered by the Second Amendment’s plain text.




    Plaintiffs’ compelled speech argument also fails, as this Court recognized. See
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   ECF No. 66 at 81-82.
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         Even if the plain text of the Second Amendment did protect the right to carry

   firearms on private property without consent, the State has put forth more than

   enough historical analogues to justify HRS § 134-E. This Court rejected all but

   one of those analogues on the ground that they “concerned private property like

   residential lands, which were not generally held open to the public.” ECF No. 66

   at 79. But the Court cited no evidence for that conclusion, aside from three entries

   in two twenty-first-century dictionaries. See id. In any event, as above, this Court

   erred by requiring the State to identify a “historical twin,” as historical laws

   requiring permission to carry firearms on private property are clearly analogous to

   HRS § 134-E, regardless of whether those historical laws dealt with “enclosed”

   lands, “plantations,” or other kinds of property.

   IV.   IRREPARABLE INJURY

         The State “suffers . . . irreparable injury” whenever it is barred “from

   effectuating statutes enacted by representatives of its people.” Maryland v. King,

   567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation omitted); see

   also Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018) (“[T]he inability to enforce

   its duly enacted plans clearly inflicts irreparable harm on the State[.]”). After

   careful consideration of the Second Amendment’s limits and the State’s safety

   needs, the Legislature enacted a law protecting sensitive places where people are

   particularly susceptible to the risks of gun violence. And the Legislature honored


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   private property rights by establishing that individuals cannot carry firearms onto

   private property without the owner’s consent. This Court’s Order prevents the

   democratic branches from exercising their judgment regarding how best to keep

   residents safe while respecting their rights. And the harm is especially profound

   here, in light of the “law enforcement and public safety interests” implicated by

   firearms and gun violence. King, 567 U.S. at 1303. By allowing loaded guns in

   places that serve alcohol, as well as banks, parks, and beaches, an injunction

   against the enforcement of Act 52 threatens public safety.

   V.    A STAY IS IN THE PUBLIC INTEREST

         The public interest favors staying the Order. “There is an immeasurable

   societal benefit of maintaining the immediate status quo while the process of

   judicial review takes place.” Duncan v. Becerra, No. 17-cv-1017-BEN-JLB, 2019

   WL 1510340, at *2 (S.D. Cal. Apr. 4, 2019). Here, the immediate status quo is

   one in which the State retains its ability to enforce the challenged provisions,

   which were effective for over a month prior to this Court’s Order. As set forth in

   the Opposition, the public interest favors enforcement of Act 52, not enjoining it.

         As both the Second and Third Circuits recently found in similar challenges

   to similar laws, a stay pending appeal is warranted.




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   VI.   ANY INJUNCTIVE RELIEF SHOULD BE NARROWED PENDING
         APPEAL
         Although the Court’s Order should be stayed in its entirety, at a minimum it

   should be narrowed to apply only to Plaintiffs. “[I]njunctive relief must be tailored

   to remedy the specific harm alleged.” East Bay Sanctuary Covenant v. Barr, 934

   F.3d 1026, 1029 (9th Cir. 2019) (cleaned up; citation omitted). Furthermore, as

   noted above and in the State’s Opposition, Plaintiffs have failed to demonstrate

   that they are entitled to facial relief on any of their claims.

   VII. IF THIS COURT DENIES A STAY PENDING APPEAL, IT SHOULD
        GRANT AN ADMINISTRATIVE STAY PENDING A MOTION FOR
        STAY PENDING APPEAL FILED IN THE NINTH CIRCUIT

         If this Court denies a stay pending appeal, the State requests that the Court

   issue an administrative stay of its Order while the Ninth Circuit considers whether

   to grant a stay pending appeal. Under Ninth Circuit law, an administrative or

   temporary stay is “intended to preserve the status quo until the substantive motion

   for a stay pending appeal can be considered on the merits[.]” Al Otro Lado v.

   Wolf, 945 F.3d 1223, 1224 (9th Cir. 2019). Granting an administrative or

   temporary stay while the State’s motion for stay pending appeal is before the Ninth

   Circuit would maintain the status quo in this case and minimize disruption and

   confusion.




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   VIII. CONCLUSION

         For these reasons, the State respectfully requests that this Court stay its

   Order pending appeal to the Ninth Circuit, or, in the alternative, enter a temporary

   administrative stay to permit application to the Court of Appeals for a stay pending

   appeal on an expedited basis.

                DATED: Honolulu, Hawai‘i, August 11, 2023.

                                                     /s/ Ben Gifford


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